Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 1 of 104
                             Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 2 of 104
                                                                    UNllr..U ;:)IAlr..;:, Ul;:)lKl\...1 \...V\JlU
                                                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                             DESIGNATION FOR.1\-1
                                                                                                                                         18                    4517
                                        unse/ or prose platnttfftd indicate the category of the case for the purpose of assignment to the appropnate calendar)
                                                       101 West Prospect Avenue, Cleveland, Ohio 44115
  Address of Defendant: _ _ _ _ _ _ _ _ _ _ Various
                                            _____   Addresses
                                                     _ _ _ _ _ in
                                                               __ Pennsylvania
                                                                   _ ___;;,,._ _ _ _ _ _ _ _ _ _ _ __
                                                                Various Counties within Commonweath of Pennsylvania
  Place of Accident, Incident or T r a n s a c t i o n : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


  RELATED CASE, IF ANY:
                                                                                                                               Date Terminated
  Case Numbef' - - - - - - - - - - - -                              Judge - - - - - - - - - - - - -
  C1v1l cases are deemed related when Yes 1s answered to any of the following questions·

         Is this case related to property included m an earlier numbered suit pending or witlun one year                          YesD                     No~
         previously tenninated action m this court?

  2      Does this case involve the same issue of fact or grow out of the same transaction as a pnor suit                         YesD                     No~
         pendmg or within one year previously tennmated action m this court?

  3      Does this case involve the validity or infringement of a patent already m suit or any earlier                            YesO                     No~
         numbered case pending or Within one year previously terminated action of this court?
                   .                              /
  4      Is this case a second or successive habeas corpus, social secunty appeal, or pro se civil nghts                          YesO                     No~
         case filed by the same ind1v1duaJ?

  I certify that, to my knowledge, the within case                                 related to any case now pending or within one year previously terminated action m
  this court except as noted above
  DATE       10/22/2018
                                                                             Attorney-at-Law I Pro Se Plaintiff                                 Attorney ID # (if applicable)


  CIVIL: (Place a ..J In one catqory only)

  A.           Fetlera/ Q11estion Cases:                                                       B.   Di11ersity Jurisdiction Ct1Ses:


 B~            Indemmty Contract, Manne Contract, and All Other Contracts
               FELA
                                                                                              Bi·
                                                                                                          Insurance Contract and Other Contracts


 a!
                                                                                                          Airplane Personal Injury
               Jones Act-Personal Injury                                                                  Assault, Defamation


                                                                                              §i
               Antitrust                                                                                  Manne Personal Injury
               Patent                                                                                     Motor Vehicle Personal IItJury



(],
               Labor-Management Relations                                                                 Other Personal In1ury (Please specify) - - - - - - -
               ClVll Rights                                                                   0     7.    Products Liability
               Habeas Corpus
               Secunties Act(s) Cases
               Social Security Review Cases
                                                                                              B~-         Products L1abihty - Asbestos
                                                                                                          All other Diversity Cases
                                                                                                          (Please specify) - - - - - - - - - - - - - - - -
 0      11     All other Federal Question Cases
               (Please specify) - - - - - - - -



                                                                              ARBITRATION CERTIFICATION
                                                      (The effect ofthis certification ts to remove the case/ram eligib1/ityfor arbitration,)

       ~~ 1\\\(lyyJ \.\         Pu9\\\/ E~ ,  J                 counsel of record or prose plainbff, do hereby certify

                   ursuant to Local C1v1l Rule 53 .2, § 3(c) (2), that to the best of my knowledge and behef, the damages recoverable m this ctvtl action case
                   xceed the sum of $150,000 00 exclusive of interest and costs:

                   ehef other than monetary damages 1s sought.
                                                                                                                                                        .OCT Z2 2lT1i
                                                                  1AJ1~lHJbJL.
 NOTE A tnal de novo will be a tnal by iury only if there has been compltance with FR C p 38
                                                                                                            ff
                                                                                                                                      5 YB'-13
                                                                                                                                           Attorney ID #(if applicable)


 Ci• 609 (Jn0J8)
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 3 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 4 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 5 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 6 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 7 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 8 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 9 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 10 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 11 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 12 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 13 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 14 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 15 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 16 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 17 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 18 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 19 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 20 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 21 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 22 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 23 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 24 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 25 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 26 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 27 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 28 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 29 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 30 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 31 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 32 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 33 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 34 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 35 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 36 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 37 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 38 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 39 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 40 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 41 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 42 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 43 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 44 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 45 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 46 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 47 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 48 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 49 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 50 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 51 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 52 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 53 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 54 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 55 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 56 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 57 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 58 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 59 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 60 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 61 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 62 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 63 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 64 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 65 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 66 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 67 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 68 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 69 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 70 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 71 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 72 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 73 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 74 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 75 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 76 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 77 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 78 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 79 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 80 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 81 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 82 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 83 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 84 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 85 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 86 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 87 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 88 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 89 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 90 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 91 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 92 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 93 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 94 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 95 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 96 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 97 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 98 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 99 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 100 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 101 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 102 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 103 of 104
Case 2:18-cv-04517-NIQA Document 1 Filed 10/22/18 Page 104 of 104
